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                               MINUTE ORDER



 CASE NUMBER:           CRIMINAL NO. 17-00101-LEK (1)
 CASE NAME:             United States of America v. Anthony T. Williams


      JUDGE:      Leslie E. Kobayashi          DATE:            12/4/2019

COURT ACTION: EO: COURT ORDER REGARDING DEFENDANT’S MOTIONS
FILED ON DECEMBER 2, 2019

        On December 2, 2019, pro se Defendant Anthony T. Williams (“Defendant”) filed
three motions, [dkt. nos. 686, 687, 688,] which are suitable for disposition without a
hearing pursuant to Local Rule 7.1(c) and without a response from Plaintiff the United
States of America. The motions are therefore taken under advisement, and no further
filings regarding any of the motions will be considered unless the filing party obtains
leave of Court prior to filing.

      IT IS SO ORDERED.


Submitted by: Agalelei Elkington, Courtroom Manager
